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                     UNITED STATES COURT OF APPEALS                    FILED
                            FOR THE NINTH CIRCUIT                       OCT 7 2020
                                                                   MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
JOHN CAPRIOLE, MARTIN EL                      No.   20-16030
KOUSSA, and VLADIMIR LEONIDAS,
individually and on behalf of others          D.C. No.
similarly situated,                           3:20-cv-02211-EMC
                                              Northern District of California,
                 Plaintiff-Appellants,        San Francisco

 v.                                           ORDER

UBER TECHNOLOGIES, INC. and DARA
KHOSROWSHAHI,

                 Defendant-Appellees.

Before: WARDLAW and NGUYEN, Circuit Judges, and EATON,* Judge.

      The motion of Boston Independent Drivers Guild, Gig Workers Rising,

Mobile Workers Alliance, Rideshare Drivers United, and We Drive Progress for

leave to file an amicus brief (Dkt. No. 42) is GRANTED. Any reply is due on or

before October 16, 2020.

      IT IS SO ORDERED.




      *
             The Honorable Richard K. Eaton, Judge for the United States Court of
International Trade, sitting by designation.
